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*:s IN rita UNITED sTATEs DISTRICT CouRT
FoR rita WssTE-RN DISTRICT oF TENNESSEE
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U`NITED STATES OF Al\/IERICA,
Plaintiff,

V.

LARRY ]ONES
Defendant_

MOTION FO.R BOND MODIFIC ION
yes the Honorable Court to modify and

Cornes now the Defendant, through counsel, and

reduce the bond amount prior set in this matter. In su ort, the Defendant would state:
unsel that the family is attempting to obtain the

Defendant’s family has notified defense

l.
set in the amount of $l0,000.00, to be secured by

hinds necessary for his present bond. Bond W

payment of lO% into the office of the C
notified counsel that the family is Willing to post a bond for

2. Defendant’s family h
ve the necessary finds for payment of the current bond amount

Defendant but they do not
Defense ounsel has consulted With government counsel and the government does not

3.

oppose the re ` f requested
P mises considered, Defendant moves that the bond amount be modifled and reduced to the

t of $5000.00, to be secured by a payment of lO% [$500.00] for the grounds set forth above

Respectfully submitted, this the Z § day of K_ 2005.

21 .Q»~M §§ - 61
James D. Todd This document entered on the dockets tin co llanc.g
ah mae 55 and/or 32(1)) FF\CrP on 7 '

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`§"`\\/tn/\Q, “U’&
M. Dianne S`anthers [011374]
Assistant Federal Defender

109 S. Highland Ave., Rm. B-S
Jackson, TN 38301 `
Phone; (901) 544-3895

CERTIFICATE OF SERVICE

The undersigned hereby ce1tifies that a true and exact copy of the foregoing Was served upon
all interested parties by either hand delivery or by mailing same, postage prepaid to the following

l\/lr. Jerly Kitchen

Assistant United States Attorney
109 South Highland, Suite 300
Jackson, Tennessee 38301

Thisthe 2 i daye 2005,

set la

M. Dianne Smetliers

 

COURT - WESTERN

oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CR-10042 Was distributed by faX, mail, or direct printing on
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Jerry R. Kitchen

U.S. ATTORNEY
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Jacl<son7 TN 38301

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FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

